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Plaintiff §
v. § Case No. 99-1268 Bre/P
CORRECTIONS CORPORATION OF §
AMERICA, et al., )
Defendants l
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mecliation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is Well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005.

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JUDGE
DATED: "{ f 3~=1 / of

IT IS SO ORDER_ED.

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APPROVED FOR ENTRY:

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JAMES I. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Termessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

150 Fourth Avenue North

Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

awpa/ga aaa/jaw

WA‘YNE A. RITCHIE{ 11
ROBERT w. RITCHIE
RITCHIE, FELS & DILLARD
P.o. Box 1126

Knoxville, Tennessee 37901-1126

W. GASTON FAIREY

W. GAS'I`ON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

COUNSEL FOR PLAINTIFF

CER'I`IFICATE OF SERVlCE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

1510/wa 095/wm

Jarnes I. Pentecost (#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

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This notice confirms a copy of the document docketed as number 86 in
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K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

J. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave., N.

Ste. 2300

Nashville, TN 37219

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave., N.

Ste. 2300

Nashville, TN 37219

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Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave., N.

Ste. 2300

Nashville, TN 37219

Honorable J. Breen
US DISTRICT COURT

